
998 So.2d 691 (2009)
In re Kirstin J. RAMSAY.
No. 2009-OB-0004.
Supreme Court of Louisiana.
January 14, 2009.


*692 ON APPLICATION FOR ADMISSION TO THE BAR
PER CURIAM.
After reviewing the evidence and considering the law, we conclude petitioner, Kirstin J. Ramsay, is eligible to be conditionally admitted to the practice of law in Louisiana, subject to a probationary period of two years. During this period, petitioner shall provide evidence to the Office of Disciplinary Counsel, on at least a quarterly basis, demonstrating that she has made a good faith effort to satisfy her financial obligations. Should petitioner fail to make a good faith effort to satisfy her financial obligations, or should she commit any misconduct during the period of probation, her conditional right to practice may be terminated or she may be subjected to other discipline pursuant to the Rules for Lawyer Disciplinary Enforcement.
CONDITIONAL ADMISSION GRANTED.
